Case 23-13359-VFP                          Doc 34   Filed 04/23/23 Entered 04/23/23 19:30:44     Desc Main
                                                    Document     Page 1 of 3
                                                                                             Court Plaza North
                                                                                              25 Main Street
                                                                                               P.O. Box 800
                                                                                        Hackensack, NJ 07602-0800
                                                                                     201-489-3000 201-489-1536 fax
                                                                                                     —
                                                                                                 New York
                                                                                                     —
 Michael D. Sirota                                                                               Delaware
 Member                                                                                              —
 Admitted in NJ and NY
                                                                                                 Maryland
                                                                                                     —
 Reply to New Jersey Office                                                                        Texas
 Writer’s Direct Line: 201.525.6262                                                                  —
 Writer’s Direct Fax: 201.678.6262
 Writer’s E-Mail: msirota@coleschotz.com                                                          Florida



                                                         April 23, 2023


TO: All Parties-in-Interest

            Re:          Bed Bath & Beyond Inc., et al.
                         Case No. 23-13359 (VFP)

Dear Sir/Madam:

       Please be advised that on April 23, 2023, Bed Bath & Beyond Inc. and its affiliates, as
debtors and debtors in possession in the above-captioned chapter 11 cases (the “Debtors”), filed
voluntary petitions for relief pursuant to chapter 11 of title 11 of the United States Code in the
United States Bankruptcy Court for the District of New Jersey.

        A hearing (the “Hearing”) on the following motions and applications (collectively, the
“First Day Motions”) has been scheduled to take place before the Honorable Vincent F. Papalia,
United States Bankruptcy Judge, in Courtroom 3B of the United States Bankruptcy Court for the
District of New Jersey, 50 Walnut Street, Newark, NJ 07102, on April 24, 2023 at 2:00 p.m. (ET)
or as soon thereafter as counsel may be heard:

1. Debtors’ Motion for Entry of an Order (I) Directing Joint Administration of Chapter 11 Cases
   and (II) Granting Related Relief;

2. Debtors’ Application for Entry of an Order (I) Authorizing the Appointment of Kroll
   Restructuring Administration LLC as Claims and Noticing Agent Effective as to the Petition
   Date and (II) Granting Related Relief;

3. Debtors’ Motion for Entry of an Order (I) Establishing Certain Notice, Case Management, and
   Administrative Procedures and (II) Granting Related Relief;

4. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) File
   A Consolidated List of the Debtors’ 30 Largest Unsecured Creditors (B) File A Consolidated
   List of Creditors in Lieu of Submitting a Separate Mailing Matrix for Each Debtor, (C) Redact
   Certain Personally Identifiable Information, (II) Waiving the Requirement to File a List of
   Equity Holders and Provide Notices Directly to Equity Security Holders, and (III) Granting
   Related Relief;



65548/0001-45112883v1
Case 23-13359-VFP       Doc 34    Filed 04/23/23 Entered 04/23/23 19:30:44            Desc Main
                                  Document     Page 2 of 3



TO: All Parties-in-Interest
April 23, 2023
Page 2

5. Debtors’ Motion Seeking Entry of an Order Extending Time to (I) File Schedules of Assets
   and Liabilities, Schedules of Executory Contracts and Unexpired Leases, and Statement of
   Financial Affairs, (II) Granting Related Relief;

6. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Pay
   Prepetition Wages, Salaries, Other Compensation, and Reimbursable Expenses and (B)
   Continue Employee Benefits Programs and (II) Granting Related Relief;

7. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Payment of Certain
   Taxes and Fees, and (II) Granting Related Relief;

8. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
   Continue Use of Existing Business Forms and Records, (B) Maintain Existing Corporate Bank
   Accounts and Cash Management System, (C) Pay Prepetition Bank Fees Associated with the
   Cash Management System, and (D) Continue Performance of Intercompany Transactions; (II)
   Granting Administrative Expense Status to Postpetition Intercompany Balances, and (III)
   Waiving Certain U.S. Trustee Requirements for a Period Not to Exceed Thirty Days;

9. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
   Maintain Insurance and Surety Coverage Entered into Prepetition and Pay Related Prepetition
   Obligations, and (B) Renew, Supplement, Modify, or Purchase Insurance and Surety
   Coverage, and (II) Granting Related Relief;

10. Debtors’ Motion for Entry of Interim and Final Orders (I) Approving the Debtors’ Proposed
    Adequate Assurance of Payment for Future Utility Services, (II) Prohibiting Utility Companies
    from Altering, Refusing or Discontinuing Services, (III) Approving the Debtors’ Proposed
    Procedures for Resolving Additional Assurance Requests, and (IV) Granting Related Relief;

11. Debtors’ Motion for Entry or Interim and Final Orders (I) Authorizing the Debtors to Pay
    Certain Prepetition Secured Claims of Critical Lien Claimants, (II) Confirming Administrative
    Expense Priority of Critical Outstanding Orders, and (III) Granting Related Relief;

12. Debtors’ Motion for Entry of Interim and Final Orders (I) Approving Notification and Hearing
    Procedures for Certain Transfers of Common Stock and Preferred Stock (II) Granting Related
    Relief;

13. Debtors’ Motion for Entry of an Order Implementing a Procedural Protocol for the
    Administration of Cross-Border Insolvency Proceedings;

14. Debtor’s Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A)
    Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting Liens and
    Superpriority Administrative Expense Claims, (III) Granting Adequate Protection, (IV)
    Modifying the Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting Related
    Relief;

65548/0001-45112883v1
Case 23-13359-VFP        Doc 34    Filed 04/23/23 Entered 04/23/23 19:30:44         Desc Main
                                   Document     Page 3 of 3



TO: All Parties-in-Interest
April 23, 2023
Page 3


15. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Assume
    the Consulting Agreements, (II) Authorizing and Approving the Conduct of Store Closing
    Sales, with Such Sales to be Free and Clear of All Liens, Claims, and Encumbrances, (III)
    Authorizing Customary Bonuses to Employees of Closing Stores, and (IV) Granting Related
    Relief; and

16. Debtors’ Motion for Entry of an Order (I)(A) Approving the Auction and Bidding Procedures;
    (B) Approving Stalking Horse Bid Protections; (C) Scheduling Bid Deadlines and an Auction;
    (D) Approving the Form and Manner of Notice Thereof; (E) Approving the Form APA, and
    (II)(A) Establishing Notice and Procedures for the Assumption and Assignment of Contracts
    and Leases, (B) Authorizing the Assumption and Assignment of Assumed Contracts, (C)
    Authorizing the Sale of Assets, and (D) Granting Related Relief.

       Copies of the First Day Motions are available on the Debtors’ claims and noticing agent
website at https://restructuring.ra.kroll.com/bbby.

        Objections, if any, to the First Day Motions may be made at the Hearing pursuant to
Rule 9013-5(d) of the Local Rules of the United States Bankruptcy Court for the District of New
Jersey.

         Please be guided accordingly.

                                              Very truly yours,

                                              /s/ Michael D. Sirota

                                              Michael D. Sirota




65548/0001-45112883v1
